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             IN THE UNITED STATES DISTRICT COURT FOR THE
                       SOUTHERN DISTRICT OF GEORGIA
                             AUGUSTA DIVISION


JACQUELINE HUMPHREY,


        Plaintiff,

             V.                                   CV 119-084


AUGUSTA, GEORGIA,


        Defendant.




                                 ORDER




        Before the Court is Defendant's motion for summary judgment.

(Doc. 40.)        For the reasons that follow. Defendant's motion is

GRANTED.




                               I. BACKGROUND


      This case involves a Title VII of the Civil Rights Act of

1964, 42 U.S.C. § 2000e, et seg. (''Title VII") dispute in which

Plaintiff alleges unlawful retaliation by Defendant - her former

employer, Augusta, Georgia - for several activities she undertook

during the course of her employment from December 2009 until March

2015.    (Doc. 12.)    Defendant hired Plaintiff to work in its Equal

Employment Opportunity ("EEC") Office, although her precise title

is a subject of dispute.^        (Id. at 2.)      Plaintiff's job was to


1 Plaintiff claims she was hired as "EEC Director," but was eventually demoted
to "EEC Coordinator"; Defendant claims Plaintiff was always the "EEC
Coordinator." (Doc. 49, at 4; Doc. 43, at 1.) Plaintiff now stipulates "she
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investigate       EEO   claims   raised    by   Defendant's      employees,    make

factual findings, and propose corrective actions to Defendant, as

well as to conduct trainings about diversity, racial and sexual

harassment and to conduct mediations.             (Doc. 49, at 4; Doc. 44-1,

at 34.)      Plaintiff's role and Defendant's EEO office are distinct

from   the    Federal    Equal   Employment Opportunity          Commission    (the

''EEOC"), and while the EEOC eventually became involved in this

dispute. Plaintiff had no formal relationship with that entity

within her role as EEO Coordinator.             (Doc. 43, at 2; Doc. 44-1, at

49-50.)      Instead, the dispute here focuses on EEO claims raised by

several of Defendant's employees and Plaintiff's investigations

and subsequent actions related thereto, as well as two EEOC Charges

ultimately filed by Plaintiff herself.               The dispute began with

four separate EEO investigations performed by Plaintiff.

       First, Plaintiff alleges she prepared an internal EEO finding

regarding     a   gender   discrimination       charge   filed    by   Ms.   Evelyn

Washington.       (Doc. 43, at 2.)        After receiving that internal EEO

finding, Ms. Washington filed a separate charge of discrimination

(''Charge") with the EEOC.         (Id.)    Some time thereafter, the EEOC

investigator contacted Defendant, who allegedly failed to respond.

(Doc. 49, at 5.)        Plaintiff herself then exchanged emails with the

EEOC investigator "because [the EEOC] could not get a response



was employed by Defendant as the EEO Coordinator during the relevant time period
and at the time of her termination." (Doc. 49, at 4.)
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from [Defendant's] law department."                  (Doc. 44-1, at 58.)                After

Defendant's      general     counsel        had   communicated       with     the       EEOC,

Plaintiff continued to communicate with the EEOC, including when

Plaintiff copied the EEOC investigator on internal communications

related to the investigation.               (Id. at 50-56.)      In May 2014, after

the    investigation.       Plaintiff       claims    she    ''issued    a    memo       that

detailed her opposition to the unlawful employment practices by

Defendant's      legal     counsel     which      violated   Title    VII,        and    that

Plaintiff suffered retaliation as a consequence."                        (Doc. 49, at

5.)

       Second,       "on   May   15,    2014,      Plaintiff     noted       in    a     case

determination for          Defendant employee         Mr. Roy Searles             that she

perceived      certain     actions     of   Human    Resources    and       Mr.    Searles

supervisor      to    be   retaliatory."          (Id.;   Doc.   44-1,       at    76-84.)

Plaintiff claims that a few days later, her title was changed from

EEO Director to EEC Coordinator, which affected her retirement

vesting status; thus. Plaintiff herself filed an EEOC complaint on

May 23, 2014.          (Doc. 49, at 5; Doc. 44-1, at 284-87; Doc. 12,

SISI 18-22.)     She "received a Dismissal and Notice of Rights" on

July 3, 2014, and "chose not to pursue the claim further."                              (Doc.

12, SISI 23-24.)

       Third, on March 24, 2015, the Mayor informed Plaintiff that

Mr. James Henry, another of Defendant's employees, "refused to

settle his EEOC case because the [EEOC] investigator substantiated
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Mr. Henry's claims . . . because of Plaintiff's findings."                               (Doc.

49, at 6.)        Plaintiff's findings in the case ''revealed that his

allegations of Title VII violations were founded."                          (Id.)

       And   fourth,      on    March   25,       2015,   "Plaintiff        substantiated

another employee's allegations against Defendant" - those of Ms.

Lori Howard.       (Id.)       Plaintiff sent that finding "to all Defendant

Commissioners."        (Id.)       Then, five days later, the Defendant's

Commissioners called a "special meeting," during which Plaintiff

was fired.        (Id.; Doc. 12, SlSl 31-33.)             Plaintiff alleges she was

fired because she substantiated Defendant's                         employees' claims,

which    assisted     the      employees      before      the     EEOC    and    created     a

"substantial cost" to Defendant, "notwithstanding any litigation

that has resulted that [Defendant] ultimately ended up settling."

(Doc. 49, at 6-7.)             Plaintiff subsequently filed a second charge

of retaliation with the EEOC on April 3, 2015.                           (Doc. 12, SI 37.)

After "the EEOC found reason to believe that Defendant terminated


Plaintiff in retaliation for engaging in protected activity" on

May 30, 2018, "Plaintiff received her Notice of Right to Sue on

March 18, 2019."       (Id. SISI 38-39.)          Plaintiff filed this suit eighty

days     later,     alleging       Title      VII    retaliation          based     on     her

"participation in the EEO process of other employees," "opposition

to     the   discriminatory         treatment        of    Defendant's          employees,"

"participation in the EEOC process by filing her own claim of

retaliation,"       and    termination.            (Id.    SISI   41-45.)       Defendant,



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however, moves for summary judgment, claiming Plaintiff has failed

to state a prima facie case of retaliation and that her claims

fail as a matter of law, among other reasons.         (Doc. 40.)




                          II. LEGAL STANDARD


     Summary judgment is appropriate only if ''there is no genuine

dispute as to any material fact and the movant is entitled to

judgment as a matter of law."       Fed. R. Civ. P. 56(a).      Facts are

"material" if they could "affect the outcome of the suit under the

governing [substantive] law," Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 248 (1986), and a dispute is genuine "if the non[-]moving

party has produced evidence such that a reasonable factfinder could

return a verdict in its favor."       Waddell v. Valley Forge Dental

Assocs., Inc., 276 F.3d 1275, 1279 (11th Cir. 2001).            The Court

must view factual disputes in the light most favorable to the non-

moving party, Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,

475 U.S. 574, 587 (1986), and must "draw all justifiable inferences

in [the non-moving party's] favor."     United States v. Four Parcels

of Real Prop., 941 F.2d 1428, 1437 (11th Cir. 1991) (en banc)

(citation,   internal   quotation   marks,    and   internal   punctuation

omitted).    The Court may not weigh         the evidence or determine

credibility.   Anderson, 477 U.S. at 255.

     The moving party has the initial burden of showing the Court

the basis for its motion by reference to materials in the record.
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Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).                 When the non-

movant bears the burden of proof at trial, as Plaintiff does here,

the movant has two options as to how it can carry its initial

burden.    Id. at 1115-16.      The movant may demonstrate an absence of

evidence to support the nonmovant's case, or provide affirmative

evidence demonstrating the nonmovant's inability to prove its case

at trial.       Id.


     If the movant carries its initial burden, the non-movant must

''demonstrate that there is indeed a material issue of fact that


precludes summary judgment."         Id.        The non-movant must tailor its

response to the method by which the movant carries its initial

burden.    For example, if the movant presents evidence affirmatively

negating    a    material    fact,   the    non-movant      "must   respond    with

evidence sufficient to withstand a directed verdict motion at trial


on the material fact sought to be negated."                 Fitzpatrick v. City

of Atlanta, 2 F.3d 1112, 1116 (11th Cir. 1993).                 On the other hand,

if the movant shows an absence of evidence on a material fact, the

non-movant must either show that the record contains evidence that


was "overlooked or ignored" by the movant or "come forward with

additional      evidence    sufficient     to   withstand   a    directed   verdict


motion at trial based on the alleged evidentiary deficiency."                  Id.

at 1116-17.      The non-movant cannot carry its burden by relying on

the pleadings or by repeating conclusory allegations contained in

the complaint.        See Morris v. Ross, 663 F.2d 1032, 1033-34 (11th
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Cir. 1981).     Rather, the non-movant must respond with affidavits

or as otherwise provided by Federal Rule of Civil Procedure 56.

      In this action, the Clerk of Court provided all parties notice

of the motion for summary judgment, the right to file affidavits

or other materials in opposition, and the consequences of default.

(Doc. 42.)     For that reason, the notice requirements of Griffith

V.   Wainwright,   772 F.2d     822,     825 (11th    Cir.    1985),      have     been

satisfied.      The    time   for   filing     materials     in   opposition        has

expired, the issues have been thoroughly briefed, and the motion

is now ripe for consideration.




                               III. DISCUSSION


      There are two clauses of the anti-retaliation provision of

Title VII: the ''opposition clause," as discussed below, and the

"participation clause."         Crawford v. Metro. Gov't. of Nashville

and Davidson Cnty., 555 U.S. 271, 276 (2009).              Plaintiff, however,

concedes that summary judgment is appropriate on her claim for

retaliation    under    the   participation      clause.^         Based    on     this,

summary    judgment     is    GRZ^NTED    as    to   retaliation          under     the

participation clause.         Plaintiff's only remaining claim alleges

Title VII retaliation under the opposition clause, which the Court

addresses below.




2 Plaintiff also concedes her claim for punitive damages.     (Doc. 49, at 1 n.l.)
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       ''Under the opposition clause, an employer may not retaliate

against an employee because the employee has opposed . . . an

unlawful employment practice."           EEOC v. Total Sys. Servs., Inc.,

221 F.3d 1171, 1174 (11th Cir. 2000) (citing 42 U.S.C. § 2000e-

3(a)).    The opposition clause provides, in relevant part:

             It shall be an unlawful employment practice
             for an employer to discriminate against any of
             his employees . . . because he has opposed any
             practice made an unlawful employment practice
             by this subchapter, or because he has made a
             charge, testified, assisted, or participated
             in any manner in an investigation, proceeding,
             or hearing under this subchapter.


42 U.S.C. § 2000e-3(a).

       In Title VII retaliation actions, the plaintiff "must 'carry

the initial burden under the statute of establishing a prima facie

case.'"     Brush v. Sears Holdings Corp., 466 F. App'x 781, 785-86

(11th Cir. 2012) (quoting McDonnell Douglas Corp. v. Green, 411

U.S. 792, 802 (1973)).          If the Plaintiff does so, the Defendant

then must show "some legitimate, non-discriminatory reason" for

the employment action.         Id. at 786 (internal citation and quotation

omitted).     Then, if the Defendant does so, the Plaintiff must make

a showing of pretext regarding Defendant's stated reasons for the

employment action.      Id. (internal citation and quotation omitted).

Only upon that showing does the Plaintiff's claim survive.

       "A prima facie case of retaliation under Title VII requires

the   plaintiff    to   show    that:   (1)   she   engaged   in   an   activity


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protected under Title VII; (2) she suffered an adverse employment

action; and (3) there was a causal connection between the protected

activity and the adverse employment action."                     Crawford v. Carroll,

529 F.3d 961, 970 (11th Cir. 2008) (citation omitted).                                Here,

Defendant argues Plaintiff has failed to establish a prima facie

case    because      her        opposition       to   the   alleged       discriminatory

treatment of Defendant's employees does not constitute an activity

protected under Title VII.                 (Doc. 43, at 10.)           Defendant further

argues that even if Plaintiff has made a prima facie showing,

''[she] was terminated for legitimate, non-retaliatory reasons."

(Id. at 22-23.)            Plaintiff counterargues that her activity was

protected under Title VII, that there is a causal link between her

protected     activity          and   her    firing,     and    that    her   firing    was

pretextual.      (Doc. 49, at 12-14.)

       The   first    element         of    a    prima   facie    case    requires     that

Plaintiff engaged in protected activity.                    Crawford v. Carroll, 529

F.3d at 970.      Protected activity is "a practice made unlawful by

Title VII."      Brush, 466 F. App'x at 786 (quoting 42 U.S.C. § 2000e-

3(a)    (internal     quotations            omitted)).         Said    differently,     the

employee must 'oppose' an unlawful employment practice.                               Here,

Plaintiff alleges she engaged in several protected activities.

First, she alleges that her "participation in the EEO process of

other employees       constitute[d] protected activit[y] under Title

VII,"    (Doc.    12,      SI    41),      and    that    her    "opposition     to     the
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discriminatory treatment of Defendant's employees via her findings

in multiple claims and related discussions with Commissioners and

the Mayor constitute[d] protected activit[y]" (Id. SI 42).               Second,

she alleges her own participation in the EEOC process ''by filing

her own claim of retaliation" - specifically, her claim that her

change of title on June 24, 2014 was retaliatory, and that her

firing was in retaliation for raising the first claim - constitutes

protected activity.        (Id. SISI 22, 43.)    If any of these activities

constitute protected activity under Title VII, Plaintiff will have

satisfied the first element of a prima facie case.              The Court will

address each alleged protected activity in turn.

A. Plaintiff's Participation in the EEO Claims of Others

      As   described    above,    Plaintiff     worked   as   Defendant's     EEO

Coordinator.      (Doc. 49, at 4.)       "Plaintiff's duties required her

to   conduct   investigations,     prepare      investigative    reports,     and

propose    corrective    action    to   the    Commission."      (Id.)      Now,

Plaintiff alleges that by going "beyond the internal investigation

process"    and   making    "findings    of    discrimination    in   favor   of

employees, against the interests of Defendant," Plaintiff engaged

in oppositional, protected activity.            (Id. at 10.)

      To determine whether claims "not just [by] those directly

impacted by workplace discrimination[,] but [by] all individuals

involved in the investigation of that discrimination" constitute

protected activity,        courts in    this    circuit apply the "manager



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rule."   Brush, 466 F. App'x at 787.           The rule holds that when a

management employee, ''in the course of her normal job performance,

disagrees    with   or   opposes   the    actions   of   an   employer,"   that

disagreement does not equate to protected activity. Id. (citations

omitted).    "Instead, [for an employee's actions to] qualify as

'protected activity' an employee must cross the line from being an

employee 'performing her job . . . to an employee lodging a

personal complaint.'"       Id. (citation omitted).           Brush's adoption

of the manager rule clarified Crawford v. Carroll, in which the

Supreme Court held that "[w]hen an employee communicates to her

employer a belief that the employer has engaged in . . . a form of

employment   discrimination,       that    communication      virtually always

constitutes the employee's opposition to the activity."                 Metro.

Gov't. of Nashville, 555 U.S. at 276 (internal quotations omitted).

Specifically, the Eleventh Circuit held that "[Crawford] did not

address whether a disinterested party to a harassment claim could

use that harassment claim as its own basis for a Title VII action."


Brush, 466 F. App'x at 787.         Here, Plaintiff is a disinterested

party to the underlying harassment claims she investigated.                She

seeks to substantiate her present Title VII claim by using her

findings in those harassment investigations as protected activity.

Thus, the Court must apply the manager rule.

     In doing so, the Court finds that Plaintiff's actions do not

amount to protected activity.        Like the Brush plaintiff, Plaintiff



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here, ''[i]n her capacity as an investigator of [Title VII] claim[s]

            informed      [Defendant]    of    [each    claimant's]    allegations,

investigated those allegations, and reported the results of her

investigation[s] to [Defendant]."               Id.    While Plaintiff argues her

''adverse     findings      against      Defendant      are    separate     from   the

investigations that were part of her normal job performance," and

that those "adverse findings . . . and clear opposition to certain

practices" give rise to protected activity, she admits her job

duties      included        "prepar[ing]        investigative        reports[]     and

propos[ing] corrective action to the Commission."                    (Doc. 49, at 4,

11.)     Preparing an investigative report and proposing corrective

actions to Defendant contemplates - at least impliedly, if not

explicitly - a         potential      finding    by    Plaintiff     that    Defendant

engaged in discriminatory practices.                  And as the Eleventh Circuit

held in Brush, "[d]isagreement with internal procedures does not

equate      with     'protected       activity'         opposing     discriminatory

practices."        Brush, 466 F. App'x at 787.

       Plaintiff also counterargues that she is not a "manager," and

that the manager rule only applies to "'management employees,'

which encompasses persons in management positions outside of human

resources."        (Doc. 49, at 11.)          However, Plaintiff's argument is

unavailing for at least two reasons.                  First, there is no genuine

dispute that Plaintiff was a 'management employee' of Defendant

even   if    her    job    title   did    not   include       the   word    'manager.'



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Plaintiff emphasizes that she reported directly to the Mayor and

the entire Augusta Commission.                (Doc. 49, at 4.)         Plaintiff

stipulates she was employed as ''the EEO Coordinator" during the

relevant time period.         (Id.)    Second, much like the Plaintiff in

Brush, Plaintiff here was charged with investigating EEO claims

against Defendant's employees.          Like the 'manager' in Brush, those

employees reported their respective violations to Plaintiff, who

investigated their claims and issued findings related thereto.

(Doc. 49-6, at 2.)          Therefore, like in Brush, "there can be no

dispute that [Plaintiff] acted solely as a manager here."                 Brush,

466 F. App'x at 787.          Plaintiff's investigations, including the

findings of those investigations (including results adverse to

Defendant), do not constitute protected activity, and Defendant's

motion related to these claims is GRANTED.


B. Plaintiff's 2014 EEOC Claim


      Plaintiff    also     cites     her   own   EEOC   claims   as    protected

activities.    Plaintiff filed her EEOC claim on June 24, 2014 and

received her right-to-sue letter on July 3, 2014.^                (Doc. 44-1, at

288; Doc. 12, SISI 22-23.)     Plaintiff admits she "chose not to pursue

the claim further."         (Doc. 12, SI 24.)      However, Plaintiff claims

that as   a   result   of    filing    this   Charge,    Defendant     eventually

retaliated against her by firing her in March 2015.                  (Doc. 44-1,




3 Plaintiff alleges she filed her first EEOC claim on June 24, 2014, (Doc. 12,
5 22), but the charge itself is dated June 23, 2014 (Doc. 44-1, at 288).



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at 318; Doc. 12, SISI 43-45.)            After her firing, Plaintiff filed a

second charge of retaliation on April 20, 2015.                       (Doc. 44-1, at

318.)     In that charge, she also claimed she was ''excluded from new

and      ongoing       complaints         against      [Defendant]           involving

discrimination"        and    that   "[o]n     March    30,     2015,       [she]     was

discharged" "in retaliation for engaging in a lawful protected

activity." (Id.)            Plaintiff    claims "the EEOC found             reason     to

believe     that    Defendant     terminated   Plaintiff       in   retaliation      for

engaging in a protected activity" on May 30, 2018, and Plaintiff

received her right to sue letter on March 18, 2019.                      (Id. SISI 39-

39.)     This suit followed eighty days later.             (Doc. 1.)

        "The filing of a formal charge of discrimination with the

EEOC clearly is protected under the 'participation clause.'" Brown

V. Huntsville City Bd. of Edu., 324 F.R.D. 239, 251 (N.D. Ala.

2018) (citing Berman v. Orkin Exterminating Co., 160 F.3d 697, 702

(11th Cir. 1998)).           Here, however. Plaintiff has stipulated that

"the    evidence     does not . . . support a             claim     of   retaliation

pursuant to the participation clause, and makes no challenge to

Defendant's        Motion    on   that   basis."       (Doc.    49,    at    10     n.2.)

Accordingly, Plaintiff has failed to make a prima facie showing of

an adverse employment action, and summary judgment is appropriate.'^



^ The Court notes that even if Plaintiff had not waived her argument under the
participation clause, she would not be able to show the third element of a prima
facie case: causation. Thus, her claim would still fail. To show causation,
a plaintiff must show that "there was a causal connection between the protected



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                                     IV. CONCLUSION


      For     the       foregoing    reasons,       IT     IS     HEREBY     ORDERED      that

Defendant's motion for summary judgment (Doc. 40) is GRANTED,                                 The

Clerk   is    DIRECTED       to     ENTER   JUDGMENT       in     favor      of   Defendant,

TERMINATE all pending motions and deadlines, if any, and CLOSE

this case.


      ORDER ENTERED at Augusta, Georgia, this                               d
                                                                            day of January,

2022.




                                                            DAL HALL,/6hIEF JUDGE
                                                    UNITED STATES DISTRICT COURT
                                                         THERN DISTRICT OF GEORGIA




activity    and   the   adverse   employment    action."        Crawford,   529   F.3d   at   970
(citation omitted).       "To establish a causal connection, a plaintiff must show
that the relevant decisionmaker was 'aware of the protected conduct, and that
the protected activity and the adverse actions were not wholly unrelated."                    Kidd
V. Mando Am. Corp., 731 F.3d 1196, 1210 (11th Cir. 2013) (citation omitted).
When proximity is the sole evidence of causation, the temporal gap between the
protected activity and the alleged adverse employment action (in this case, the
2014 EEOC filing and termination) must be "very close." Clark Cnty. Sch. Dist.
V. Breeden, 532 U.S. 268, 273 (2001) (per curiam).                 Nine months is generally
not close enough to show causation by mere temporal proximity, and Plaintiff
failed to show otherwise sufficient causation here.              See, e.g., Thomas v. Cooper
Lighting, Inc., 506 F.3d 1361, 1361 (11th Cir. 2007).




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